                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                EASTERN DIVISION
                                 NO. 4106-CV-149-D


DANIEL BENNETT,

                      Plaintiff,

             v.                                               ORDER

JERRY G. MONETTE, individually and )
JERRY G. MONETTE in his capacity as )
SHERIFF OF CRAVEN COUNTY, and )
CONTRACTORS BONDING AND             )
INSURANCE CO.,

                      Defendants.


       On June 29,2006, Daniel Bennett ("plaintiff ') filed this civil rights action in Craven County

Superior Court and sued Sheriff Jerry Monette ("Sheriff Monette") of Craven County, in both his

individual and official capacities, as well as Contractors Bonding and Insurance Company

("Contractors"). According to the complaint, Contractors is a bonding company which insures the

Sheriff. Compl. Sect. I, 7 3. Defendants removed the action to this court and now move for

summary judgment. For the reasons explained below, the court grants defendants' motion for

summary judgment.



       Viewed in the light most favorable to the plaintiff, the facts are as follows. On June 20,

2003, plaintiff entered into a lease agreement with the Craven County Junior Chamber of Commerce

("Jaycees") to rent the Craven County Fairgrounds ("Fairgrounds"). The lease stated that plaintiff

was authorized to use the Fairgrounds on July 5,2003, from 12:Ol a.m. until 11:59 p.m. in order to

host a "car showldance." Bennett Dep. 69. As part of the evening's festivities, plaintiff arranged

for a rap artist from New York, Fatman Scoop, and his entourage to travel to Craven County to




        Case 4:06-cv-00149-D          Document 21        Filed 08/08/07      Page 1 of 12
perform at the Fairgrounds. Compl. Sect. 111. Plaintiff arranged for security personnel (including

two Craven County Sheriffs deputies and three City of New Bern police officers) and food

concessionaires. Id.;Bennett Dep. 74-77. Plaintiff advertised the event on radio and charged an

admission fee of $20 ($15 for those who entered between 6:00 p.m. and 7:00 p.m.). Bennett Dep.

78-79.

         The car show began at 6:00 p.m. and lasted approximately one hour. Thereafter, plaintiff

sponsored a "rap contest" in which anyone could perform and the crowd picked the winner. Bennett

Dep. 85. During the rap contest Sergeant Tillman (one of the deputy sheriffs hired by plaintiff to

provide security) heard reports over his sheriffs radio that members of the community adjacent to

the Fairgrounds were complaining about the noise level and profanity coming from the Fairgrounds.

Tillman Aff. 7 5. Deputy Sheriff DeJesus (the other deputy hired to provide security) received

complaints about the noise level and profanity from people who had driven to the Fairgrounds from

neighborhoods nearby. DeJesus Aff. 77 5-6. At approximately 11:10 p.m.,1Sheriff Monette arrived

at the Fairgrounds because "I decided that the noise level and profanity complaints had reached a

point where I needed to investigate." Monette Aff. 7 6. Once there, Sheriff Monette "determined

that a violation of the Craven County noise ordinance was in process and instructed officers present

to begin shutting down the concert and directing patrons to leave the premises." Id.7 8.

         According to plaintiff, the featured performer, Fatman Scoop, was scheduled to start

performing at midnight for about one hour, at which point the dance would begin. Plaintiff

estimated that the dance would end at approximately 3:00 a.m. Bennett Dep. 85-86. Plaintiff

contends that even though his lease with the Jaycees stated that his authorized use of the Fairgrounds

ended at 11:59 p.m., he understood from Brynn Thomas, the Jaycees vice president and drafter of



        'Plaintiff testified that Sheriff Monette arrived at 11:10 p.m. while Sheriff Monette and others
put the time at 11:30 p.m. The exact time is irrelevant. No one disagrees that the Sheriff arrived
after 11:00 p.m. and that the rap contest (the source of the complaints) was ongoing when Sheriff
Monette arrived.


         Case 4:06-cv-00149-D          Document 21        Filed 08/08/07       Page 2 of 12
the lease agreement, that "if [the car showldance] ran over some, , . . it wouldn't make that much of

a difference." Id.at 70.

       Plaintiff filed a "complaint for injunctive relief, and for unlawfUl tortious interference in

contract and for damages." In it, plaintiff alleges that Sheriff Monette "without authority, without

permission of the plaintiff, without a court order and under color of authority, entered upon the

premises of the Craven County Fairgrounds . . . [and] began ordering all patrons to leave the

premises . . . without refunding any money to any paid patron." Compl. Sect. III,q 7 (emphasis in

original). Plaintiff cites 42 U.S.C. 8 1983 and contends that the Sheriffs actions "violated the Due

Process of law" under the United States and North Carolina Constitutions. Id.T[ 8. Plaintiff seeks

a jury trial, compensatory damages "in excess of' $10,000, punitive damages "in excess of' $10,000,

attorney's fees, and "liquidated damages and such sum as plaintiff would have made on the Fatman

Scoop Show.", .dI   Prayer for Relief.

                                                  11.

       Summary judgment is appropriate when no genuine issue of material fact exists and the

moving party is entitled to judgment as a matter of law. Anderson v. Liberty Lobby, Inc., 477 U.S.

242, 247 (1986); Fed. R. Civ. P. 56. The party seeking summary judgment initially must

demonstrate the absence of a genuine issue of material fact. Celotex Corp. v. Catrett, 477 U.S. 3 17,

325 (1986). Once the moving party has met its burden, the non-moving party may not rest on the

allegations or denials in its pleading, Anderson, 477 U.S. at 248, but "must come forward with

'specific facts showing that there is a genuine issue for trial."' Matsushita Elec. Indus. Co. v. Zenith

Radio Corn., 475 U.S. 574, 587 (1986) (quoting Fed. R. Civ. P. 56(e)). A trial court reviewing a

motion for summaryjudgment should determine whether a genuine issue of material fact exists for

trial. Anderson, 477 U.S. at 249. In making this determination, the court must view the evidence

and the inferences drawn from the evidence in the light most favorable to the non-moving party.

United States v. Diebold, Inc., 369 U.S. 654,655 (1962) (per curiam).



         Case 4:06-cv-00149-D            Document 21       Filed 08/08/07      Page 3 of 12
                                                  111.
          Under 42 U.S.C. 5 1983, a plaintiff must establish (1) that the defendant deprived him of a

right secured by the Constitution or laws of the United States and (2) that such deprivation was

committed by a person acting under color of state law. See, e.g., Gomez v. Toledo, 446 U.S. 635,

640 (1980). The parties do not dispute that Sheriff Monette was acting under color of state law.

Thus, the court must determine whether Sheriff Monette's actions violated plaintiffs constitutional

rights.

          The complaint is not a model of clarity. The crux of plaintiffs complaint is: "As patrons

and guests began to fill up the Craven County Fairgrounds, the defendant, Jerry Monette, without

authority, without the permission of the plaintiff, without a court order and under color of authority

entered the premises . . . dressed as the Sheriff displaying his badge, . . . [and] began ordering all

patrons to leave the premises . . . without refunding any money to any paid patron." Compl. Sect.

111,TI 7 (emphasis in original). Plaintiff contends that Sheriff Monette violated both procedural and

substantive due process because the Sheriff failed to get a court order before entering the Fairgrounds

to enforce the noise ordinance. See id., 7 8.

                                                  A.

          "Procedural due process imposes constraints on governmental decisions which deprive

individuals of 'liberty' or 'property' within the meaning of the Due Process Clause of the Fifth and

Fourteenth Amendment." Mathews v. Eldridne, 424 U.S. 3 19,332 (1976). "Due process is flexible

and calls for such procedural protections as the particular situation demands." Gilbert v. Homar, 520

U.S. 924,930 (1997). Although due process generally requires an opportunity to be heard prior to

the deprivation of property interest, a pre-deprivation hearing is not required in all circumstances.

See, e.g., id.; Cleveland Bd. of Educ. v. Loudermill, 470 U.S. 532,542 (1982). Where "a State must
-

act quickly, or where it would be impractical to provide predeprivation process, postdeprivation

process satisfies the requirements of the Due Process Clause." Gilbert, 520 U.S. at 930.



           Case 4:06-cv-00149-D         Document 21       Filed 08/08/07       Page 4 of 12
          In order to state a valid section 1983 procedural due process claim, plaintiff must allege (1)

that he had a property interest; (2) of which Sheriff Monette deprived him; (3) without due process

of law.         Tri-County Paving, Inc. v. Ashe County, 281 F.3d 430, 436 (4th Cir. 2002). The

Fourteenth Amendment does not create property interests. Id. "Rather, they are created and their

dimensions defined by existing rules or understandings that stem fiom an independent source such

as state law." Id.(quotations omitted).

          For purposes of their motion for summaryjudgment, defendants do not contest that plaintiff

had a contract right stemming fiom his contract with the Jaycees. Nevertheless, defendants argue

that Sheriff Monette's alleged interference with this alleged contract right does not automatically

trigger a due process violation. "[A] mere breach of a contractual right is not a deprivation of

property without constitutional due process of law . . . . Otherwise, virtually every controversy

involving an alleged breach of contract by a government . . . would be a constitutional case."

Coastland Corn. v. County of Currituck, 734 F.2d 175, 178 (4th Cir. 1984) (quotations omitted).

          The court need not decide whether the contract between the plaintiff and the Jaycees created

a property interest under North Carolina law protected by the Fourteenth Amendment. Rather, even

assuming that it did, the court notes that the sole basis for plaintiffs procedural due process claim

is that Sheriff Monette entered the Fairgrounds without plaintiffs permission and without a court

order allegedly in violation of the Craven County noise ordinance. See Craven County, N.C. Code

Sec. 9.8-98 (hereinafter "Craven County Code " ) . The ordinance makes it a misdemeanor for

any person to "make, continue, or cause to be made or continued, any noise disturbance" (i.e., "any

sound which endangers or injures the safety or health of humans . . . or annoys or disturbs a

reasonable person of normal sensitivities"). Id.Sec. 9.8-99. The ordinance states:

          In order to implement and enforce this article effectively, the sheriff of the county or
          his deputies shall have, in addition to any other authority vested in him, the power to
          conduct inspections: (1) Upon presentation of credentials, enter and inspect any
          private property or place, . . . at any reasonable time when granted permission by the
          owner, or by some other person with apparent authority to act for the owner. When



          Case 4:06-cv-00149-D          Document 21         Filed 08/08/07      Page 5 of 12
       permission is refused or cannot be obtained, a search warrant or other court order
       may be sought by the officer from a court of competentjurisdiction upon showing of
       probable cause to believe that a violation of this article may exist.

Id. Sec. 9.8-98.
-

       Sheriff Monette is authorized to enforce the noise ordinance. Given that plaintiff hired two

Craven County Sheriffs deputies who were present at the Fairgrounds during the evening, plaintiff

had granted permission to the Sheriff to enter the Fairgrounds. Accordingly, Sheriff Monette acted

in accordance with the ordinance, and defendants are entitled to summary judgment on plaintiffs

procedural due process claim.

       Alternatively, assuming that Sheriff Monette entered the Fairgrounds without plaintiffs

permission and thereby violated the noise ordinance and interfered with plaintiffs contract with the

Jaycees, plaintiffs remedy is not a section 1983 procedural due process claim. Rather, his remedy

for such allegedly random and unauthorized conduct is a state tort claim for tortious interference

with a contract. Where state law provides a post-deprivation means for plaintiff to redress such a

deprivation, a section 1983 procedural due process claim is not available. See Hudson v. Palmer,

468 U.S. 517,533 (1984); Paratt v. Taylor, 451 U.S. 527,543-44 (1981), overruled in tlart on other

grounds by Daniels v. Williams, 474 U.S. 327,330-3 1 (1986); Bogartv. Chapell, 396 F.3d 548,555-

63 (4th Cir. 2005); Fields v. Durham, 909 F.2d 94,98-99 (4th Cir. 1990); Coastland Corp., 734 F.2d

at 178. On the facts of this case, state law is the proper avenue to seek redress. Hudson, 468 U.S.

at 533; Paratt, 45 1 U.S. at 544; Boaart, 396 F.3d at 555-63; Fields, 909 F.2d at 98-99. Specifically,

North Carolina law provides a post-deprivation remedy in the form of a claim oftortious interference

with a contract. See, e.g, Childress v. Abeles, 240 N.C. 667,674, 84 S.E.2d 176, 181-82 (1954).

Further, North Carolina allows plaintiff to file such a tort claim against Sheriff Monette in his

individual capacity for his alleged tortious interference with plaintiffs contract with the Jaycees.

See, e.g.,Stewart v. North Carolina, 393 F.3d 484,491 (4th Cir. 2005); Webb ex rel. Bum~arnerv.
-

Nicholson, 178 N.C. App. 362, 366,634 S.E.2d 545,547 (2006); Dawson v. Radewicz, 63 N.C.



        Case 4:06-cv-00149-D          Document 21        Filed 08/08/07      Page 6 of 12
App. 73 1, 732-33, 306 S.E.2d 171, 172-73 (1983). Accordingly, the court grants defendants'
motion for summary judgment on plaintiffs section 1983 procedural due process claim.

                                                 B.

       In order to state a valid claim for violation of substantive due process, plaintiff must

demonstrate: (1) that he had a property interest; (2) that Sheriff Monette deprived him of this

property interest; and (3) that Sheriff Monette's actions fell so far beyond the outer limits of

legitimate governmental action that no process could cure the deficiency. See Tri-County Paving,

28 1 F.3d at 440 (quotations omitted). To violate substantive due process, Sheriff Monette's actions

must be "so arbitrary and irrational, so unjustified by any circumstance or governmental interest, as

to be literally incapable of avoidance by any pre-deprivation procedural protections or of an adequate

rectification by any post-deprivation state remedies." Id.

       Even assuming that plaintiff had aproperty interest arising from his contract with the Jaycees,

he cannot demonstrate that Sheriff Monette acted so arbitrarily and irrationally as to violate

substantive due process. Sheriff Monette had received several complaints over several hours

regarding the level of noise and profanity emanating from the Fairgrounds. The complaints alleged

"extremely profane language" and that "children were unable to sleep." Monette Aff. 7 5. The

purpose of the Craven County noise ordinance is to shield "every person" within the county from

"noise levels . . . which are . . . detrimental for life, health, and enjoyment of property and that is

unusually excessive and unreasonable . . . and is a menace to the public health, safety, and welfare

and the comfort to the people of the county." Craven County Code Sec. 9.8-96. The ordinance

declares as "unreasonably loud," inter alia, the use of sound amplifiers and musical instruments

between the hours of 11:00 p.m. and 7:00 a.m. which create a noise disturbance. Id. Sec. 9.8-

99(b)(l)(a). Based on the complaints, Sheriff Monette investigated the noise and "determined that

a violation of the Craven County noise ordinance was in process and instructed officers present to

begin shutting down the concert and directing patrons to leave the premises." Monette Aff. 7 8. In



         Case 4:06-cv-00149-D          Document 21        Filed 08/08/07       Page 7 of 12
light of the purpose of the ordinance, the number of complaints, the extended time frame over which

the complaints were received, and that Sheriff Monette enforced the ordinance after 11:00 p.m.,

Sheriff Monette's actions were not so arbitrary and irrational as to violate substantive due process.

-
See,   =,Tri-County Paving, 281 F.3d at 440-41. Thus, the court grants defendants' motion for
summary judgment regarding plaintiffs section 1983 substantive due process claim.

                                                  C.

         Plaintiff next contends that Sheriff Monette violated the equal protection clause of the

Fourteenth Amendment. Although plaintiffs complaint and memorandum are not clear, this claim

apparently is a selective enforcement claim. To prove that Sheriff Monette violated his rights by

selectively enforcing the facially valid noise ordinance, plaintiff must demonstrate (1) that he was

treated differently from others who are similarly situated, and (2) that such treatment was intentional

or purposeful, based on impermissible considerations such as race, religion, intent to inhibit or

punish the exercise of constitutional rights, or malicious or bad faith intent to injure a person. See,

a,
 Eberhart v. Gems, 21 5 F. Supp. 2d 666,675 (M.D.N.C. 2002) (quotations omitted).

         Plaintiff presents no evidence that he was treated differently than others similarly situated,

or that Sheriff Monette's enforcement of the noise ordinance was motivated by an illegal animus.

Accordingly, the court grants defendants' motion for summaryjudgment on plaintiffs section 1983

equal protection claim.2


        2Plaintiffscomplaint and memorandum do not mention a section 1983 Fourth Amendment
claim arising from Sheriff Monette's warrantless entry into the Fairgrounds during the rap contest
and concert. Cf. Oliver v. United States, 466 U.S. 170, 176-81 (1984) (an individual has no
legitimate expectation of privacy that open fields or public places will remain free from intrusion by
government officers); Hester v. United States, 265 U.S. 57, 59 (1924) (same); United States v.
Morton, 17 F.3d 91 1,912-13 (6th Cir. 1994) (business open to public); United States v. Varkonvi,
645 F.2d 453,457-58 (5th Cir. 1981) (yard). Such a warrantless entry is different than a warrantless
entry into a person's house. Cf.United States v. Rohrig, 98 F.3d 1506, 1522-25 (6th Cir. 1996)
(exigent circumstances justified warrantless entry into house in response to noise ordinance
violation); Noone v. Citv of Ocean City, 60 Fed. Appx. 904,910-1 1 (3rd Cir. 2003) (unpublished)
(exigent circumstancesjustified warrantless entry into house in response to noise ordinance violation
and underage drinking).


          Case 4:06-cv-00149-D         Document 21        Filed 08/08/07       Page 8 of 12
                                                   D.

        Defendants also seek summary judgment concerning plaintiffs claims against Sheriff

Monette in his individual capacity based on the doctrine of qualified immunity. Defs.' Mem. 10-13.

The doctrine of qualified immunity shields public officials "from civil liability insofar as their

conduct does not violate clearly established statutory or constitutional rights of which a reasonable

person would have known." Johnson v. Caudill, 475 F.3d 645, 650 (4th Cir. 2007) (internal

quotations omitted); Trulock v. Freeh, 275 F.3d 391, 399 (4th Cir. 2001). Qualified immunity

issues should be determined early in the litigation process "so that the costs and expenses of trial are

avoided where the defense is dispositive." Saucier v. Katz, 533 U.S. 194, 200 (2001). "The

privilege is an immunity from suit rather than a mere defense to liability . . . ." Id.(emphasis in

original).

        In analyzing qualified immunity, the court initially must address the "threshold question:

Taken in the light most favorable to the party asserting the injury, do the facts alleged show that

[Sheriff Monette's] conduct violated a constitutional right?"            at 201. If no, then no further

inquiry is required. Id. If, on the other hand, a constitutional right is deemed to have been violated,

"the next, sequential step is to ask whether the right was clearly established." Id. Sheriff Monette's

actions would violate a "clearly established" constitutional right if, "in the light of pre-existing law[,]

the unlawfblness of [his] actions is apparent." Johnson, 475 F.3d at 650.

        As explained earlier, Sheriff Monette did not violate plaintiffs constitutional rights under

the Fourteenth Amendment. Thus, qualified immunity applies, and the court grants Sheriff

Monette's motion for summaryjudgment on plaintiffs claims against him in his individual capacity.

        Alternatively, even assuming plaintiff established a constitutional violation, plaintiffs claim

fails on the second prong of the qualified immunity analysis. The standard for evaluating Sheriff

Monette's actions at the Fairgrounds is not as lawyers or judges with the benefit of hindsight, but

instead whether "an objectively reasonable official in [a] similar circumstance[]" would have known




         Case 4:06-cv-00149-D           Document 21         Filed 08/08/07        Page 9 of 12
that his actions violated plaintiffs clearly established constitutional rights under the Fourteenth

Amendment. Id. Plaintiff emphasizes that Sheriff Monette entered the Fairgrounds without a court

order pursuant to the ordinance and notes that some witnesses stated that the music was not too loud.

Compl. Sect. III,T 7; Pl.'s Mem. in Opp'n 4, 10-11; Craven County Code Sec. 9.8-98. This
evidence alone, however, does not render Sheriff Monette's actions objectively unreasonable.

Indeed, several factors demonstrate that Sheriff Monette acted reasonably. First, Sheriff Monette

had received several complaints about the loudness of the music as well as profanity over a period

of several hours. Monette Aff. 77 5-7; see also DeJesus Aff. 77 5-6; Tillman Aff. 7 5. Thus, he

proceeded to the Fairgrounds to investigate. Upon arriving after 11:00 p.m., Sheriff Monette not

only heard the noise from the rap contest and saw between 100-150 people inside the Fairgrounds,

but also saw (according to plaintiff) a long line of people waiting to pay to get into the Fairgrounds,

suggesting that the noise was not about to decrease anytime soon. See Bennett Dep. 86-89; Monette

Aff. 7 8. Further, two of Sheriff Monette's deputies had been hired by plaintiff to provide security

inside the Fairgrounds and had been present during the evening. As a result, it was reasonable for

Sheriff Monette to conclude that he did not need a court order pursuant to the ordinance before

entering the Fairgrounds. Once inside, Sheriff Monette did not make arrests or issue citations. See

Monette Aff. 7 8; DeJesus Aff. 77 8-9; Tillman Aff. 77 8-9. Rather, he told people that the party was

over and told them to leave the Fairgrounds. Sheriff Monette's actions at the Fairgrounds did not

violate plaintiffs clearly established constitutional rights under the Fourteenth Amendment. See,

u,Leev. Ferraro, 248 F.3d 1188,1195-96 (1 1th Cir. 2002); Maciariello v. Sumner, 973 F.2d 295,
298 (4th Cir. 1992). Accordingly, Sheriff Monette's motion for summary judgment regarding the

claims against him in his individual capacity is granted.

                                                  E.

       Defendants also move for summary judgment on plaintiffs claims against Sheriff Monette

in his official capacity. Defs.' Mem. 13-14. County governments are "persons to whom 5 1983



        Case 4:06-cv-00149-D          Document 21        Filed 08/08/07       Page 10 of 12
applies." Monell v. Dep't of Soc. Sews., 436 U.S. 658, 690 (1978). Plaintiff, however, must

initially establish that he was deprived of a constitutional right. Id.at 690-9 1. As explained earlier,

plaintiff has failed to make that threshold showing; therefore, the court grants defendants' motion

for summary judgment regarding claims against Sheriff Monette in his official capacity.

       Alternatively, assuming that plaintiff established such a deprivation, Sheriff Monette will not

be liable in his official capacity unless plaintiff can establish that Sheriff Monette's actions were

done pursuant to an unconstitutional policy or custom. See id. at 694. Plaintiff presented no

evidence that Sheriff Monette acted pursuant to an unconstitutional policy or custom in enforcing

the noise ordinance. The evidence is to the contrary.         See Monette Aff. T( 9. Accordingly,
defendants' motion for summary judgment as to plaintiffs claims against Sheriff Monette in his

official capacity is granted. See, e.g, Carter v. Morris, 164 F.3d 215,218-20 (4th Cir. 1999).

                                                  F.

       Plaintiffs complaint also contains due process (i.e., law of the land) and equal protection

claims under the North Carolina Constitution. See Compl. Sect. 11, T( D; Sect. 111, T( 8. "North

Carolina courts have consistently interpreted the due process and equal protection clauses of the

North Carolina Constitution as synonymous with their Fourteenth Amendment counterparts." Tri-

Countv Paving, 281 F.3d at 435 n.6. Accordingly, for the reasons explained earlier, defendants are

entitled to summary judgment regarding these state constitutional claims.

                                                  IV.

       As a basis for jurisdiction, plaintiffs complaint mentions 42 U.S.C. § 1981. Plaintiff,

however, did not mention section 1981 in his memorandum. If there was such a claim, plaintiff

abandoned it.

       In any event, "[tlo prove a § 1981 claim, a plaintiff must ultimately establish both that the

defendant intended to discriminate on the basis of race, and that the discrimination interfered with

a contractual interest." Eddy v. Waffle House. Inc., 482 F.3d 674, 678 (4th Cir. 2007). Plaintiff

presented no evidence that Sheriff Monette intended to or did discriminate on the basis of race.



        Case 4:06-cv-00149-D          Document 21         Filed 08/08/07      Page 11 of 12
Indeed, the complaint does not mention plaintiffs race, let alone accuse Sheriff Monette of acting

in a discriminatory manner based on plaintiffs race. Accordingly, defendants are entitled to

summary judgment on this claim.

                                               v.
       For the reasons stated above, the court GRANTS defendants' motion for summaryjudgment

and dismisses plaintiffs federal claims and his claims under the North Carolina Constitution. The

Clerk is DIRECTED to close this case.




                                                    *
       SO ORDERED. This B d a y of August 2007.




                                                    JA S C. DEVER I11
                                                    ~ n i t k dStates District Judge




       Case 4:06-cv-00149-D         Document 21       Filed 08/08/07        Page 12 of 12
